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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0551V
                                      Filed: July 22, 2019
                                        UNPUBLISHED


    KIM SAFFRAN,
                                                             Special Processing Unit (SPU);
                        Petitioner,                          Attorneys’ Fees and Costs
    v.

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Kenneth J. Steinberg, Law Office of Kenneth J. Steinberg, Durham, NC, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

        On April 20, 2017, Kim Saffran (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et
seq.,2 (the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related
to vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccine she
received to her left shoulder on November 5, 2014. Petition at 1-2. On March 19, 2019,
the undersigned issued a decision awarding compensation to petitioner based on the
parties’ stipulation. ECF No. 38.



1The  undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the Internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, the undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 27, 2019, petitioner filed a motion for attorneys’ fees and costs. ECF
No. 47. Petitioner requests attorneys’ fees in the amount of $21,891.60 and attorneys’
costs in the amount of $434.90. Id. at 1. In compliance with General Order #9,
petitioner filed a signed statement indicating that petitioner incurred no out-of-pocket
expenses. ECF No. 48. Thus, the total amount requested is $22,326.50.

       On June 8, 2019, respondent filed a response to petitioner’s motion. ECF No.
50. Respondent states that “[n]either the Vaccine Act nor Vaccine Rule 13 requires
respondent to file a response to a request by a petitioner for an award of attorneys’ fees
and costs.” Id. at 1. Respondent adds, however, that he “is satisfied the statutory
requirements for an award of attorneys’ fees and costs are met in this case.” Id. at 2.
Respondent “respectfully recommends that the Chief Special Master exercise her
discretion and determine a reasonable award for attorneys’ fees and costs.” Id. at 3.

       In light of all the facts and circumstances of this case, particularly including the
history of expedited resolution within the Special Processing Unit, and mindful of
respondent’s response to the instant application, the undersigned finds upon review of
the submitted billing records and based on the undersigned’s experience evaluating fee
applications in similar Vaccine Act claims that the overall amount sought for attorneys’
fees and costs is reasonable. Thus, especially in the absence of any particularized
objection from respondent, further analysis is not warranted. Special Masters have
“wide latitude in determining the reasonableness of both attorneys’ fees and costs.”
Hines v. Sec’y of Health & Human Servs, 22 Cl. Ct. 750, 753 (Fed. Cl. 1991).
Moreover, Special Masters are entitled to rely on their own experience and
understanding of the issues raised. Wasson v. Sec’y of Health & Human Servs, 24 Cl.
Ct. 482, 483 (Fed. Cl. 1991) aff’d in relevant part, 988 F.2d 131 (Fed.Cir.1993) (per
curiam). J.B. v. Sec’y of Health & Human Servs., No. 15-67V, 2016 WL 4046871 (Fed.
Cl. Spec. Mstr. July 8, 2016) (addressing attorneys’ fees and costs in the context of a
history of attorneys’ fees and costs awards in over 300 similarly situated SPU cases.)

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

      Accordingly, the undersigned awards the total of $22,326.503 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Kenneth J. Steinberg.


3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

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        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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